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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    United States of America,                         Case No. 20-cr-197 (DWF/TNL)

                        Plaintiff,

    v.                                                             ORDER

    Esteban Ramos,

                        Defendant.


         This matter comes before the Court on Defendant Esteban Ramos’s Motion for

Continuance of Motion Filing Date (ECF No. 26). Defendant has also filed a Statement of

Facts in Support of Exclusion of Time Under the Speedy Trial Act (ECF No. 27).

Defendant requests a 30-day continuance of the deadline to file motions and the motions

hearing scheduled for February 16, 2021, as he and his counsel “need additional time to

review discovery, analyze his matter, and discuss options for resolving his case.” (ECF

No. 26; see also ECF No. 27.) The Government has no objection to the requested

continuance. (ECF No. 26.)

         Additionally, beginning on March 13, 2020, and continuing thereafter, the

Honorable John R. Tunheim, Chief District Judge for the United States District Court for

the District of Minnesota, has issued a series of General Orders in connection with the

COVID-19 pandemic, addressing, among other things, criminal proceedings and trials. 1



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   All General Orders related to the COVID-19 pandemic may be found on the Court’s website at
https://www.mnd.uscourts.gov/coronavirus-covid-19-guidance.

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On November 24, 2020, Chief Judge Tunheim entered General Order No. 22, which

continues all in-person hearings, unless the presiding judge determines that an in-person

hearing is necessary, through January 31, 2021, and states that no new criminal trial may

commence before February 1, 2021. See generally In re: Updated Guidance to Court

Operations Under the Exigent Circumstances Created by COVID-19, Gen. Order No. 22

(D. Minn. Nov. 24, 2020).

        General Order No. 22 continues to encourage the use of videoconferencing in

criminal proceedings and states that, with the defendant’s consent, criminal proceedings

will be conducted by videoconferencing, or telephone conferencing if videoconferencing

is not reasonably available. 2 General Order No. 22 further provides that, if the defendant

declines to consent to proceeding by videoconferencing or telephone conferencing, the

matter can be continued until an in-person hearing can be held and time may be excluded

under the Speedy Trial Act. Accordingly, should Defendant file pretrial motions,

counsel shall also file a letter indicating whether Defendant consents to a motion

hearing by videoconference.

        Pursuant to 18 U.S.C. § 3161(h), this Court finds that the ends of justice served by

granting such a continuance outweigh the best interests of the public and Defendant in a

speedy trial and such continuance is necessary to provide Defendant and his attorney

reasonable time necessary for effective preparation and to make efficient use of the parties’


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  See also General Order No. 24, which went into effect on December 25, 2020, and extends the Court’s authorization
to conduct certain criminal proceedings via video or telephone conference pursuant to the CARES Act “[b]ecause the
emergency created by the COVID-19 outbreak continues to materially affect the functioning of court operations in
the District of Minnesota.” In re: Updated Guidance to Court Operations Under the Exigent Circumstances Created
by COVID-19, Gen. Order No. 19 (D. Minn. Dec. 22, 2020).

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resources. Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

      1.    Defendant’s Motion for Continuance of Motion Filing Date (ECF No. 26) is
            GRANTED.

      2.    The period of time from January 8, 2021 through March 5, 2021, shall be
            excluded from Speedy Trial Act computations in this case.

      3.    All motions in the above-entitled case must be filed and served consistent
            with Federal Rules of Criminal Procedure 12(b) and 47 on or before
            February 8, 2021. D. Minn. LR 12.1(c)(1).

      4.    Should Defendant file pretrial motions, counsel shall also file a letter on
            or before February 8, 2021, indicating whether Defendant consents to a
            motion hearing by videoconference.

      5.    Counsel must electronically file a letter on or before February 8, 2021, if no
            motions will be filed and there is no need for hearing.

      6.    All responses to motions must be filed by February 22, 2021. D. Minn. LR
            12.1(c)(2).

      7.    Any Notice of Intent to Call Witnesses must be filed by February 22, 2021.
            D. Minn. LR 12.1(c)(3)(A).

      8.    Any Responsive Notice of Intent to Call Witnesses must be filed by
            February 25, 2021. D. Minn. LR 12.1(c)(3)(B).

      9.    A motions hearing will be held pursuant to Federal Rules of Criminal
            Procedure 12(c) where:

            a.     The Government makes timely disclosures and a Defendant identifies
                   in the motions particularized matters for which an evidentiary hearing
                   is necessary; or

            b.     Oral argument is requested by either party in its motion, objection or
                   response pleadings.

      10.   If required, the motions hearing must be heard before Magistrate Judge Tony
            N. Leung on March 5, 2021, at 10:00 a.m., in Courtroom 9W, Diana E.


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            Murphy U.S. Courthouse, 300 South Fourth Street, MINNEAPOLIS,
            Minnesota. D. Minn. LR 12.1(d).

      11. TRIAL:

            a. IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT: the
               following trial and trial-related dates are:

                 All voir dire questions and jury instructions must be submitted to
                 District Judge Donovan W. Frank on or before April 2, 2021.

                 This case must commence trial on April 12, 2021, at 9:00 a.m. before
                 District Judge Frank in Courtroom 7C, Warren E. Burger Federal
                 Building and U.S. Courthouse, 316 North Robert Street, SAINT PAUL,
                 Minnesota.

            b. IF PRETRIAL MOTIONS ARE FILED, the trial date, and other
               related dates, will be rescheduled following the ruling on pretrial
               motions. Counsel must contact the Courtroom Deputy for District
               Judge Frank to confirm the new trial date.




Dated: January      13     , 2021                      s/Tony N. Leung
                                                Tony N. Leung
                                                United States Magistrate Judge
                                                District of Minnesota

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